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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

CIVIL MINUTES - GENERAL

 

Case No.: CV 20-09746 SB (PVCx) Date: January 8, 2021

 

Title: Estate of Voncile R. McCalebbc et al v. AG Lynwood, LLC et al

 

 

Present: The Honorable STANLEY BLUMENFELD, JR., U.S. District Judge

 

Victor Cruz Katie Thibodeaux
Deputy Clerk Court Reporter
Attorney(s) Present for Plaintiff(s): Attorney(s) Present for Defendant(s):
Ivan Puchalt Lann Melntyre
Scott H. Carr

MOTION to Remand Case to Superior Court of California,
County of Los Angeles filed by Plaintiffs Lashawn Rabb, Lisa
Rabb, Estate of Voncile R. McCalebb, Dkt. No. 13

Proceedings:

Hearing held. Counsel present argument. The Court takes this matter under
submission.

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CV-90 (12/02) CIVIL MINUTES —- GENERAL Initials of Deputy Clerk VPC

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